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m-ED BY_*WDC‘
IN THE UNITED STATES DISTRICT COURT "_“ '

FOR THE wEsTERN DISTRICT oF TENNESSEH]S
wESTERN DIVISION JUL 22 P" |’57

 

CLW. U.S. §HSYH!CT m

UNITED STATES oF AMERICA W/DOFH'J\!_~€EWPHS

Plaintiff,

Criminal No. DL- ZQQQ 2 Ml

(60-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Sentember 23l 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in
open court at report date this 22nd day of July, 2005.

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ThTs document entered on the docket sheet in compliance
with sure 35 arm/or sz(b) FF:CrP on 7`@?5'¢95

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SO ORDERED this 22nd day Of July, 2005.

QWM‘@QQ

 

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UN ED STATES DISTRICT JUDGE
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Assistant United States

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Counsel for Defendant(s)

 

ISTRIC COURT - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:02-CR-20007 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

Michael EdWin Scholl

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Honorable J on McCalla
US DISTRICT COURT

